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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

_____________________________________
In re                                                      Chapter 11
                                       :
PARAGON OFFSHORE PLC,                                     Case No. 16-10386 (CSS)
                  Debtor.              :
______________________________________

PARAGON LITIGATION TRUST,
               Plaintiff,                       :         Adv. Proc. No. 17-51882 (CSS)

                   v.                           :

NOBLE CORPORATION, PLC, et al.,
                  Defendants.          :
______________________________________

                                        (REVISED)
                                    MEDIATOR’S REPORT


         The Mediator reports as follows:

         The Mediator conducted the mediation of the captioned adversary proceeding on July

28, 2020, and it finished on July 30, 2020. At the mediation the plaintiff, Paragon Litigation

Trust, and its attorneys appeared and defendants and insurance carriers appeared through their

attorneys. All actively participated. The Mediator is fully convinced that the case should

have settled and believes that it will settle in the future. The Mediator remains available to

work with the parties and their lawyers. Respectfully submitted,


July 31, 2020                                        /s/ Kevin Gross
                                                     Kevin Gross, Mediator




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